                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF IOWA
                                    CEDAR RAPIDS DIVISION

 PARENTS DEFENDING EDUCATION,
                              Plaintiff,
 v.

 LINN-MAR COMMUNITY SCHOOL                                        Case No. 22-cv-78-CJW-MAR
 DISTRICT; et al.,

                              Defendants.




                               PLAINTIFF’S DISCLOSURE STATEMENT

          As required by Federal Rule 7.1(a) and Local Rule 7.1(a), Plaintiff Parents Defending

Education certifies that it has no parent corporation and there is no publicly held corporation that

owns more than 10% of its stock. Parents Defending Education further certifies the following:

          1.       Associations, firms, partnerships, corporations, and other artificial entities that either are related to

the plaintiff as a parent, subsidiary, or otherwise, or have a direct or indirect pecuniary interest in the plaintiff’s outcome

in the case:

                   None


          2.       With respect to each such entity, a description of its connection to or interest in the litigation:

                   None




                                      1
        Case 1:22-cv-00078-CJW-MAR Document 10 Filed 08/18/22 Page 1 of 2
       Dated: August 18, 2022,                        Respectfully submitted,

                                                      /s/ Alan R. Ostergren
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                                                      Counsel for Plaintiff

                                 CERTIFICATE OF SERVICE
       I certify that on August 18, 2022, I electronically filed the foregoing with the Clerk of Court

using the CM/ECF System, which will automatically send e-mail notification to all counsel of record.



                                                      /s/ Alan R. Ostergren




                                    2
      Case 1:22-cv-00078-CJW-MAR Document 10 Filed 08/18/22 Page 2 of 2
